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                                                                               United States Bankruptcy Court
                                                                                   Southern District of Texas

                                                                                      ENTERED
                    IN THE UNITED STATES BANKRUPTCY COURT                           October 12, 2022
                      FOR THE SOUTHERN DISTRICT OF TEXAS                           Nathan Ochsner, Clerk
                               HOUSTON DIVISION

 In re:                                             §
                                                    §   Subchapter V
 Angelena Donaree Pressley-Caffee,                  §
                                                    §   Case No. 22-32643
                      Debtor.                       §   Christopher M. Lopez


                    ORDER EXTENDING TIME TO FILE SCHEDULES
                      AND STATEMENT OF FINANCIAL AFFAIRS
                                [DOCKET NO. 24]

        Came on for consideration the Debtor’s Second Emergency Motion to Extend Time to File
Schedules and Statement of Financial Affairs (the “Motion”). After considering the Motion, this
Court finds cause to grant the requested relief.

          ORDERED:

       The Motion is GRANTED and Angelena Donaree Pressley-Cafee is authorized to file her
schedules and statement of financial affairs through October 25, 2022.

Zzzz
          August12,
          October 02,2022
                      2019
